      Case 1:01-cv-12257-PBS Document 7410-1 Filed 02/11/11 Page 1 of 3




                        UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSETTS


 IN RE: PHARMACEUTICAL INDUSTRY                      MDL No. 1456
 AVERAGE WHOLESALE PRICE
 LITIGATION                                          Master File No. 01-CV-12257-PBS
 THIS DOCUMENT RELATES TO:
                                                     Judge Patti B. Saris
 ALL MASSACHUSETTS CLASS
 ACTIONS CONCERNING CLASSES 2 & 3


             PLAINTIFFS’ MOTION FOR LEAVE TO FILE UNDER SEAL

       Class Counsel respectfully move this Court for leave to file Exhibit A to the Proposed

Revised Final Orders and Judgments Granting Final Approval of the Proposed Massachusetts

and Non-Massachusetts Class 2/Class 3 Settlements with AstraZeneca (“Exhibit A”) under seal.

       WHEREFORE, Plaintiffs respectfully request that this Court grant them leave to file

these exhibits to the Proposed Revised Final Orders and Judgments Granting Final Approval of

the Proposed Massachusetts and Non-Massachusetts Class 2/Class 3 Settlements with

AstraZeneca under seal.

DATED: February 11, 2011                    By    /s/ Steve W. Berman
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                                               -1-
Case 1:01-cv-12257-PBS Document 7410-1 Filed 02/11/11 Page 2 of 3




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                                 -2-
       Case 1:01-cv-12257-PBS Document 7410-1 Filed 02/11/11 Page 3 of 3




                                   CERTIFICATE OF SERVICE

           I hereby certify that I, Steve W. Berman attorney, caused a true and correct copy of the

foregoing Plaintiffs’ Motion For Leave To File Under Seal be delivered to all counsel of record

by electronic service pursuant to Paragraph 11 of the Case Management Order No. 2, by sending

on February 11, 2011 a copy to LexisNexis File and Serve for Posting and notification to all

parties.



                                                      By: /s/ Steve W. Berman
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                                                    -3-
